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                             UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                      MONROE DIVISION

 UNITED STATES OF AMERICA                         *     CRIMINAL NO. 17-0231-01


 VERSUS                                           *     JUDGE S. MAURICE HICKS, JR.


 GEORGE E. FULLER                                 *     MAG. JUDGE KAREN L. HAYES

                 REPORT AND RECOMMENDATION ON
  FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Upon reference of the District Court pursuant to 28 U.S.C. § 636(b), and with the written

and oral consent of the defendant, this cause came before the undersigned U. S. Magistrate Judge

on December 5, 2017, for administration of guilty plea and allocution of the defendant George

Fuller under Rule 11 of the Federal Rules of Criminal Procedure. Defendant was present with

his counsel, Mr. Bob Noel.

       After said hearing, it is the finding of the undersigned that the defendant is fully

competent, that his plea of guilty is knowing and voluntary, and his guilty plea to Count Two of

the Indictment, is fully supported by a written factual basis for each of the essential elements of

the offense. In addition, both the government and the defendant have waived their right to object

to the report and recommendation. Accordingly,

       IT IS RECOMMENDED that the District Court ACCEPT the guilty plea of the defendant

George Fuller in accordance with the terms of the plea agreement filed in the record of these

proceedings, and that George Fuller be finally adjudged guilty of the offense charged in Count

Two of the Indictment.
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       IT IS FURTHER RECOMMENDED that, pursuant to the parties’ waiver of their right to

object, that the District Court immediately adopt the report and recommendation without passage

of the customary delays.

       In Chambers, at Monroe, Louisiana, this 5th day of December 2017.



                                                   __________________________________
                                                   KAREN L. HAYES
                                                   UNITED STATES MAGISTRATE JUDGE
